Case 1:23-cv-00975-RGA-SRF Document 45 Filed 03/15/24 Page 1 of 9 PageID #: 2408




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

 UNITED THERAPEUTICS                                )
 CORPORATION,                                       )
                                                    )
                           Plaintiff,               )
                                                    ) C.A. No. 23-975 (RGA)
        v.                                          )
                                                    )
 LIQUIDIA TECHNOLOGIES, INC.,                       )
                                                    )
                           Defendant.

                                        SCHEDULING ORDER

              15th day of March 2024, the Court having waived an initial Rule 16(b)
        This _____

 scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined after

 discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,

 or binding arbitration;

        IT IS ORDERED that:

        1.      Rule 26(a)(1) Initial Disclosures. Unless otherwise agreed to by the parties, the

 parties shall make their initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1)

 within 14 days of the date of this Order.

        2.      Joinder of Other Parties and Amendment of Pleadings. All motions to join other

 parties, and to amend or supplement the pleadings, shall be filed on or before April 4, 2024.

        3.      Discovery.

                a.         Discovery Cut Off. All discovery in this case shall be initiated so that it

 will be completed on or before November 13, 2024.

                b.         Document Production.       Document production shall be substantially

 complete by August 12, 2024.
Case 1:23-cv-00975-RGA-SRF Document 45 Filed 03/15/24 Page 2 of 9 PageID #: 2409




                 c.         Requests for Admission. A maximum of 25 requests for admission are

 permitted for each side, excluding requests solely for the purpose of authentication.

                 d.         Interrogatories. A maximum of 25 interrogatories, including contention

 interrogatories, are permitted for each side.

                 e.         Depositions.

                       i.          Limitation on Hours for Deposition Discovery. Each side is limited

 to a total of 85 hours of taking testimony by deposition upon oral examination. This limitation

 does not include depositions of expert witnesses.

                      ii.          Location of Depositions.    Any party or representative (officer,

 director, or managing agent) of a party filing a civil action in this district court must ordinarily be

 required, upon request, to submit to a deposition at a place designated within this district.

 Exceptions to this general rule may be made by order of the Court or by agreement of the parties.

 A defendant who becomes a cross-claimant or third-party plaintiff shall be considered as having

 filed an action in this Court for the purpose of this provision.

                 f.         Discovery Matters and Disputes Relating to Protective Orders. Should

 counsel find they are unable to resolve a discovery matter or a dispute relating to a protective order,

 the parties involved in the discovery matter or protective order dispute shall contact the Court’s

 Case Manager to schedule an in-person conference/argument. Unless otherwise ordered, by no

 later than seven business days prior to the conference/argument, any party seeking relief shall file

 with the Court a letter, not to exceed three pages, outlining the issues in dispute and its position on

 those issues. By no later than five business days prior to the conference/argument, any party

 opposing the application for relief may file a letter, not to exceed three pages, outlining that party’s

 opposition. A party should include with its letter a proposed order with a detailed issue-by-issue




                                                    2
Case 1:23-cv-00975-RGA-SRF Document 45 Filed 03/15/24 Page 3 of 9 PageID #: 2410




 ruling such that, should the Court agree with the party on a particular issue, the Court could sign

 the proposed order as to that issue, and the opposing party would be able to understand what it

 needs to do, and by when, to comply with the Court’s order. Any proposed order shall be e-mailed,

 in Word format, simultaneously with filing to rga_civil@ded.uscourts.gov.

                If a discovery-related motion is filed without leave of the Court, it will be denied

 without prejudice to the moving party’s right to bring the dispute to the Court through the discovery

 matters procedures set forth in this Order.

                g.          Miscellaneous Discovery Matters.

                       i.          Disclosures under the Delaware Default Standard for Discovery:

                               1. The parties shall serve their disclosures pursuant to Paragraph 3

                                   within 21 days of the entry of this Order.

                               2. Plaintiff shall serve its disclosures pursuant to Paragraph 4(a) by

                                   March 21, 2024.

                               3. Defendant shall produce its core technical documents pursuant to

                                   Paragraph 4(b) by April 8, 2024.

                               4. Plaintiff shall serve its disclosure of asserted claims and initial

                                   infringement contentions pursuant to Paragraph 4(c) by May 2,

                                   2024.

                               5. Defendant shall serve its initial invalidity contentions and produce

                                   all prior art references pursuant to Paragraph 4(d) by June 3, 2024.

                      ii.          There is no pending or completed litigation regarding the patent

 currently asserted in this litigation, U.S. Patent No. 11,826,327. At this time, Plaintiff has no




                                                     3
Case 1:23-cv-00975-RGA-SRF Document 45 Filed 03/15/24 Page 4 of 9 PageID #: 2411




 expectation of instituting additional litigation in this district against Defendant within the next

 year. Defendant does not expect to file an IPR challenging the claims of the asserted ’327 patent.

                     iii.      Narrowing of Asserted Claims and Invalidity References and Final

 Contentions.

                            1. Within 7 days of the Court’s Claim Construction decision the parties

                               shall meet and confer in a good faith attempt at reducing the number

                               of asserted claims and invalidity references.          Within 3 days

                               thereafter, Plaintiff shall serve its amended disclosure of asserted

                               claims and Defendant shall serve its amended disclosure of prior

                               references.

                            2. Within 7 days of the meet and confer in the preceding paragraph,

                               Plaintiff shall serve its final infringement contentions and Defendant

                               shall serve its final invalidity contentions.

                     iv.       Plaintiff avers that it has not licensed the asserted ’327 patent nor is

 the ’327 patent subject to any settlement agreement. All parties shall be prepared to discuss at the

 conference what their preliminary views of damages are.

        4.      Application to Court for Protective Order. Should counsel find it will be necessary

 to apply to the Court for a protective order specifying terms and conditions for the disclosure of

 confidential information, counsel should confer and attempt to reach an agreement on a proposed

 form of order and submit it to the Court within ten days from the date of this Order. Should

 counsel be unable to reach an agreement on a proposed form of order, counsel must follow the

 provisions of Paragraph 3(f) above.

        Any proposed protective order must include the following paragraph:




                                                  4
Case 1:23-cv-00975-RGA-SRF Document 45 Filed 03/15/24 Page 5 of 9 PageID #: 2412




                Other Proceedings. By entering this order and limiting the disclosure
                of information in this case, the Court does not intend to preclude
                another court from finding that information may be relevant and
                subject to disclosure in another case. Any person or party subject to
                this order who becomes subject to a motion to disclose another
                party’s information designated as confidential pursuant to this order
                shall promptly notify that party of the motion so that the party may
                have an opportunity to appear and be heard on whether that
                information should be disclosed.

        5.      Papers Filed Under Seal. When filing papers under seal, a redacted version of any

 sealed document shall be filed electronically within seven days of the filing of the sealed document.

        6.      Claim Construction Issue Identification. On or before May 9, 2024, the parties

 shall exchange a list of those claim term(s)/phrase(s) that they believe need construction and their

 proposed claim construction of those term(s)/phrase(s) 1. This document will not be filed with the

 Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a Joint Claim

 Construction Chart to be filed no later than May 23, 2024. The Joint Claim Construction Chart,

 in Word format, shall be e-mailed simultaneously with filing to rga_civil@ded.uscourts.gov. The

 Joint Claim Construction Chart should identify for the Court the term(s)/phrase(s) of the claim(s)

 in issue, and should include each party’s proposed construction of the disputed claim language

 with citation(s) only to the intrinsic evidence in support of their respective proposed constructions.

 The Joint Claim Construction Chart should include an explanation of why resolution of the dispute

 makes a difference. A copy of the patent(s) in issue as well as those portions of the intrinsic record

 relied upon shall be submitted with the Joint Claim Construction Chart. In this joint submission,

 the parties shall not provide argument.




 1
   If a party proposes a construction of a term to be its “plain and ordinary” meaning, the party must
 explain what that meaning is. If a term is arguably a means-plus-function term, and a party does
 not propose a function and a structure, it is waiving any right to propose a function and a structure
 at a later time.


                                                   5
Case 1:23-cv-00975-RGA-SRF Document 45 Filed 03/15/24 Page 6 of 9 PageID #: 2413




          7.         Claim Construction Briefing2. Plaintiff shall serve, but not file, its opening brief,

 not to exceed 5,000 words, on June 13, 2024. Defendant shall serve, but not file, its answering

 brief, not to exceed 7,500 words, on July 18, 2024. Plaintiff shall serve, but not file, its reply brief,

 not to exceed 5,000 words, on August 15, 2024. Defendant shall serve, but not file its sur-reply

 brief, not to exceed 2,500 words, on August 22, 2024. No later than August 29, 2024, the parties

 shall file a Joint Claim Construction Brief. The parties shall copy and paste their unfiled briefs

 into one brief, with their positions on each claim term in sequential order, in substantially the form

 below.

                                JOINT CLAIM CONSTRUCTION BRIEF

 I.        Representative Claims

 II.       Agreed-upon Constructions

 III.      Disputed Constructions

           A.        [TERM 1]3

                1.   Plaintiff’s Opening Position
                2.   Defendant’s Answering Position
                3.   Plaintiff’s Reply Position
                4.   Defendant’s Sur-Reply Position

           B.        [TERM 2]

                1. Plaintiff’s Opening Position

 2
   As each brief is written and provided to the opposing party, the individual responsible for
 verifying the word count will represent to the other party that it has so verified and by what means.
 These verifications should not be provided to the Court unless a dispute arises about them.
 Pictures, Figures copied from the patent, and other illustrations do not count against the word limit.
 Plaintiff should include with its opening brief one or more representative claims with the disputed
 terms italicized. Should Defendant want to add additional representative claims, Defendant may
 do so. The representative claims and the agreed-upon claim constructions do not count against the
 word limits.
 3
  For each term in dispute, there should be a table or the like setting forth the term in dispute, the
 parties’ competing constructions, and why resolution of the dispute matters. The table does not
 count against the word limits.


                                                       6
Case 1:23-cv-00975-RGA-SRF Document 45 Filed 03/15/24 Page 7 of 9 PageID #: 2414




             2. Defendant’s Answering Position
             3. Plaintiff’s Reply Position
             4. Defendant’s Sur-Reply Position

 Etc. The parties need not include any general summaries of the law relating to claim construction.

 If there are any materials that would be submitted in an appendix, the parties shall submit them in

 a Joint Appendix.

        8.      Hearing on Claim Construction.        Beginning at 9:00       a.m. on September 30,

 2024, the Court will hear argument on claim construction. Absent prior approval of the Court

 (which, if it is sought, must be done so by joint letter submission no later than the date on which

 answering claim construction briefs are due), the parties shall not present testimony at the

 argument, and the argument shall not exceed a total of three hours. When the Joint Claim

 Construction Brief is filed, the parties shall simultaneously file a motion requesting the above-

 scheduled claim construction hearing, state that the briefing is complete, and state how much total

 time the parties are requesting that the Court should allow for the argument.

        9.      Disclosure of Expert Testimony.

                a.      Expert Reports.4 For the party who has the initial burden of proof on the

 subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or before

 December 13, 2024. The supplemental disclosure to contradict or rebut evidence on the same

 matter identified by another party is due on or before January 16, 2025. Reply expert reports

 from the party with the initial burden of proof are due on or before February 14, 2025. No other

 expert reports will be permitted without either the consent of all parties or leave of the Court. If

 any party believes that an expert report does not comply with the rules relating to timely disclosure



 4
         In the event that the Court does not enter its Claim Construction Order at least two weeks
 before the date for Opening Expert Reports, the parties agree to meet and confer on revising the
 schedule for expert discovery and the deadlines that follow.


                                                  7
Case 1:23-cv-00975-RGA-SRF Document 45 Filed 03/15/24 Page 8 of 9 PageID #: 2415




 or exceeds the scope of what is permitted in that expert report, the complaining party must notify

 the offending party within one week of the submission of the expert report. The parties are

 expected to promptly try to resolve any such disputes, and, when they cannot reasonably be

 resolved, use the Court’s Discovery Dispute Procedure or the complaint will be waived.

                Along with the submissions of the expert reports, the parties shall advise of the

 dates and times of their experts’ availability for deposition. Depositions of experts shall be

 completed on or before March 7, 2025.

                b.      Objections to Expert Testimony. To the extent any objection to expert

 testimony is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm., Inc.,

 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made by motion

 no later than March 28, 2025. Oppositions shall be filed no later than April 17, 2025 and replies

 shall be filed no later than May 1, 2025, unless otherwise ordered by the Court.

        10.     Case Dispositive Motions. No case dispositive motions shall be filed without leave

 of Court.

        11.     Applications by Motion. Except as otherwise specified herein, any application to

 the Court shall be by written motion. Any non-dispositive motion should contain the statement

 required by Local Rule 7.1.1.

        12.      Pretrial Conference. On June 13, 2025, the Court will hold a Rule 16(e) final

 pretrial conference in Court with counsel beginning at 9:00     a.m. The parties shall file a joint

 proposed final pretrial order in compliance with Local Rule 16.3(c) no later than 5 p.m. on the

 fourth business day before the date of the final pretrial conference. Unless otherwise ordered by

 the Court, the parties shall comply with the timeframes set forth in Local Rule 16.3(d) for the

 preparation of the proposed joint final pretrial order.




                                                   8
Case 1:23-cv-00975-RGA-SRF Document 45 Filed 03/15/24 Page 9 of 9 PageID #: 2416




        13.     Motions in Limine. No later than May 2, 2025, the parties shall meet and confer

 regarding proposed motions in limine and the briefing schedule for the motions. Motions in limine

 shall be separately filed no later than the date on which the Pretrial Order is due, with each motion

 containing all the argument described below in one filing for each motion. Any supporting

 documents in connection with a motion in limine shall be filed in one filing separate from the

 motion in limine. Each party shall be limited to three in limine requests, unless otherwise permitted

 by the Court. The in limine request and any response shall contain the authorities relied upon;

 each in limine request may be supported by a maximum of three pages of argument and may be

 opposed by a maximum of three pages of argument, and the party making the in limine request

 may add a maximum of one additional page in reply in support of its request. If more than one

 party is supporting or opposing an in limine request, such support or opposition shall be combined

 in a single three page submission (and, if the moving party, a single one page reply). No separate

 briefing shall be submitted on in limine requests, unless otherwise permitted by the Court.

        14.      Trial. This matter is scheduled for a three (3) day bench trial beginning at 8:30

 a.m. on June 23 , 2025, with the subsequent trial days beginning at 8:30 a.m. and ending at 5:00.

 The trial will be timed, as counsel will be allocated a total number of hours in which to present

 their respective cases.

        15.     Discovery Referral. This matter is referred to a magistrate judge to handle all

 discovery disputes including any that arise in connection with expert reports.




                                                /s/ Richard G. Andrews
                                               UNITED STATES DISTRICT JUDGE




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